Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16   PageID.1   Page 1 of 18



                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

THERESA PALUMBO,                         CIVIL ACTION NO. 16-11157-cv

     Plaintiff,                          HON.

V

RANDALL COMMISSARIS and
WAYNE STATE UNIVERSITY,

     Defendant.

LAW OFFICE OF GLEN N. LENHOFF
BY: GLEN N. LENHOFF (P32610)
       ROBERT KENT-BRYANT (P40806)
Attorney for Plaintiff
328 South Saginaw Street
8th Floor, North Building
Flint, Michigan 48502
(810)235-5660
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                   COMPLAINT AND JURY DEMAND

     No civil action has been previously filed between the parties.

                  PARTIES, JURISDICTION AND VENUE

     NOW COMES Plaintiff, Theresa Palumbo, by and through her

attorney, the Law Office of Glen N. Lenhoff, and hereby complains of

Defendants, Randall Commissaris and Wayne State University, as follows.




                                     1
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16      PageID.2    Page 2 of 18



      1.     Plaintiff, Theresa Palumbo (hereinafter Plaintiff), is a resident of

the State of Illinois.

      2.     Defendant Wayne State University (hereinafter “Defendant

University”) is a public corporation, doing business in the County of Wayne,

State of Michigan.

      3.     Defendant    Randall    Commissaris      (hereinafter   “Defendant

Commissaris”) is, by information and belief, a resident of the State of

Michigan.

      4.     The claims Plaintiff asserts in the lawsuit against Defendant

University are brought pursuant to Title IX of the Civil Rights Act of 1964

and Michigan’s Elliott-Larsen Civil Rights Act, MCLA §37.2201 et seq.

      5.     The claims Plaintiff asserts in this lawsuit against Defendant

Commissaris are brought pursuant to 42 USC §1983 and Michigan’s Elliott-

Larsen Civil Rights Act §37.2201, et seq.

      6.     This Court has jurisdiction over this case pursuant to 28 USC

§1331, because the case contains federal questions: to wit, the claims

asserted under 42 USC §1983 against Defendant Commissaris and under

Title IX of the Civil Rights Act of 1964 against Defendant University.




                                        2
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16      PageID.3   Page 3 of 18



      7.    This Court also has jurisdiction over all claims in this case

pursuant to 28 USC §1332, because Defendants and Plaintiff are residents

of different states.

      8.    Venue is proper in the Eastern District of Michigan Southern

Division pursuant to 28 USC §1391(a)(1), as Defendants are citizens of

Michigan; and 28 USC §1391(a)(2), as the events giving rise to Plaintiff’s

claims occurred within the Eastern District of Michigan, Southern Division.

      9.    The amount in controversy exceeds $75,000.00.

                            GENERAL ALLEGATIONS

      10.   On or about January 7, 2013, Plaintiff began her collegiate

career as a student at Wayne State University.

      11.   At all times pertinent to this lawsuit, Plaintiff was a student

attending Wayne State University.

      12.     In May, 2013 Plaintiff began her engagement as an

undergraduate research fellow, in which she acted as research assistant.

      13.   On or about December, 2013 Plaintiff began paid employment

with Defendant University as a research assistant.

      13.   At all times pertinent to this lawsuit, Plaintiff’s direct supervisor

when she was employed as a research assistant at Defendant University

was Defendant Commissaris.


                                       3
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16       PageID.4   Page 4 of 18



      14.   Defendant Commissaris was, at all times pertinent to this

lawsuit, an Associate Professor in Defendant University’s Department of

Pharmaceutical Sciences.

      15.   Plaintiff’s educational goal, before the wrongful acts committed

by Defendants occurred, was to obtain her degree through Defendant

University’s Department of Pharmaceutical Sciences and become a

pharmacist.

      16.   During the course of Plaintiff’s employment with Defendant

University, Defendant Commissaris created in Plaintiff’s workplace a

sexually hostile work environment.

      17.   Specifically,    during    Plaintiff’s   employment,      Defendant

Commissaris sent Plaintiff many letters, texts and emails professing his

romantic attraction to, and romantic interest in, Plaintiff.

      18.   In December 2014, Defendant hugged Plaintiff against her will

and told her that he had romantic feelings for her. As an employee and as

a student, this made Plaintiff extremely uncomfortable.

      19. Plaintiff thereupon told Defendant Commissaris she did not want

to have a romantic relationship with him. She told Defendant Commissaris

she wanted only a professional relationship with him.




                                        4
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16       PageID.5   Page 5 of 18



      20.   Despite the foregoing, Defendant Commissaris continued his

efforts to involve Plaintiff in a romantic relationship with him.

      21.   In January 2015, Defendant Commissaris asked Plaintiff if he

could visit her at her part time job as a bartender, which was off campus.

This made Plaintiff extremely uncomfortable.

      22.   On February 11, 2015, Defendant attempted to persuade

Plaintiff to attend a bioengineering conference with him. Plaintiff refused.

      23.   On February 14, 2015, Defendant attempted to persuade

Plaintiff to attend an orchestra concert with him. Plaintiff refused.

      24.   On February 19, 2015, Defendant Commissaris attempted to

persuade Plaintiff to go out drinking with him. Plaintiff refused.

      25.   On March 6, 2015, Defendant Commissaris wrote Plaintiff a

lengthy email, in which he stated Plaintiff had deeply hurt him by rebuffing

his romantic advances.

      26.   On March 13, 2015, Plaintiff through her academic advisor,

complained of sexual harassment to Defendant’s Office of Equal

Opportunity.

      27.   Nonetheless,      Defendant     Commissaris’      sex    harassment

continued, with Defendant University doing nothing to stop it.




                                        5
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16    PageID.6   Page 6 of 18



      28. On March 14, 2015, Defendant wrote to Plaintiff, “Well, I will not

just go away. You know how I feel about you and until I see for myself,

looking into your eyes, that I am wrong about your feelings, I will believe

that you feel the same about me.”

      29.   In April 2015, after Plaintiff cut off all contact with Defendant

Commissaris, he began emailing her relatives in an attempt to reestablish

contact with Plaintiff.

      30.   These efforts included an email to Plaintiff’s brother, which also

contained a copy of Plaintiff’s initial Office of Equal Opportunity sex

harassment complaint.

      31.   In April 2015, Defendant Commissaris wrote Plaintiff an

extensive note, in which he informed Plaintiff that she was the “catalyst” in

his decision to leave his wife.

      32.   Based on the foregoing, Plaintiff determined her workplace was

too sexually offensive to continue employment as a research assistant.

      33.   Furthermore, Plaintiff determined that, although on February

18, 2015 she had been accepted into Defendant University’s pharmacy

program, she had to enroll elsewhere to pursue her dream of becoming a

pharmacist.




                                      6
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16      PageID.7   Page 7 of 18



     34.   Plaintiff was forced to enroll at another university because

Defendant Commissaris taught several classes that Plaintiff would need to

take to achieve her degree in Pharmacy at Defendant University.

     35.   Plaintiff    ultimately   enrolled   at   Roosevelt   University   in

Schaumburg, Illinois.

     36.   Roosevelt University has a far less prestigious pharmacy

program than the program offered at Defendant University.

     37.   On October 7, 2015, seven months after Plaintiff made her sex

harassment complaint, Defendant University’s Office of Equal Opportunity

issued its “Notice of Disposition” with regard to Plaintiff’s aforementioned

Sex Harassment Complaint.

     38.   The belated report found that, “Because of respondent’s

continued overtures towards her, complainant (Plaintiff) was made so

uncomfortable by him (Commissaris) that she avoided him as much as she

could avoid him.”

     39.   The foregoing Notice of Disposition also found that Plaintiff felt

she was unable to continue her education at Wayne State University

because of Defendant Commissaris’ sexually harassing behavior.

     40.   As a result of the foregoing harassment, both in the

employment and educational settings, Plaintiff was forced to terminate her


                                        7
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16     PageID.8   Page 8 of 18



employment and educational careers at Defendant University, thereby

suffering substantial economic and emotional distress damages.

      COUNT I. 42 USC §1983 EQUAL PROTECTION CLAUSE SEX
  HARASSMENT OFFENSIVE EMPLOYMENT ENVIRONMENT CLAIM
            AGAINST DEFENDANT COMMISSARIS

      41.   Plaintiff hereby re-alleges and incorporates by reference the

previous paragraphs.

      42.   Defendant Commissaris’ conduct and communication, as stated

above, had the purposed effect of substantially interfering with Plaintiff’s

employment and creating an intimidating, hostile and offensive sex-based

employment environment for Plaintiff.

      43.   Defendant Commissaris knew, or should have known, that said

sexual harassment was occurring and did nothing to stop it.

      44.   Therefore, Plaintiff hereby asserts a 42 USC §1983 Equal

Protection Clause Offensive Employment Environment Sex Harassment

claim against Defendant Commissaris.

     COUNT II. PLAINTIFF’S 42 USC §1983 EQUAL PROTECTION
 CLAUSE QUID PRO QUO SEX HARASSMENT IN THE WORKPLACE
         CLAIM AGAINST DEFENDANT COMMISSARIS

      45.   Plaintiff hereby re-alleges and incorporates by reference the

preceding paragraphs.




                                       8
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16   PageID.9   Page 9 of 18



      46.     Because Plaintiff refused a sexual relationship with Defendant

Commissaris, Defendant Commissaris established a sexually offensive

work environment to such as extent that it disrupted and made impossible

Plaintiff’s ability to do her job.

      47.     Defendant Commissaris carried out said acts in his capacity as

Plaintiff’s Supervisor with regard her employment with Defendant

University.

      48.     The aforementioned circumstances resulted in Plaintiff’s

constructive discharge from her employment.

      49.     Therefore, Plaintiff asserts a 42 USC §1983 Equal Protection

Clause Quid Pro Quo Sex Harassment claim against Defendant

Commissaris.

         COUNT III. PLAINTIFF’S MCLA § 37.2202 SEX HARASSMENT
           OFFENSIVE EMPLOYMENT ENVIRONMENT CLAIM
                    AGAINST DEFENDANT COMMISSARIS

      50.     Plaintiff hereby re-alleges and incorporates by reference the

preceding paragraphs.

      51.     Defendant Commissaris’ conduct and communications, as

stated above, had the purposed effect of substantially interfering with

Plaintiff’s employment, and created an intimidating, hostile and offensive

sex-based employment environment for Plaintiff.


                                      9
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16   PageID.10   Page 10 of 18



      52.    Defendant Commissaris knew, or should have known, that his

conduct created a sexually hostile environment, but did nothing to stop it.

      53.    Therefore, Plaintiff asserts an MCLA §37.2202 Offensive

Environment Sexual Harassment claim against Defendant.

            COUNT IV. PLAINTIFF’S MCLA §37.2202 QUID PRO QUO
               SEX HARASSMENT IN THE WORKPLACE CLAIM
                   AGAINST DEFENDANT COMMISSARIS

      54.    Plaintiff hereby re-alleges and incorporates by reference the

preceding paragraphs.

      55.    Because Plaintiff refused the sexual advances of Defendant

Commissaris, Defendant Commissaris made Plaintiff’s work life miserable

by beclouding her work environment with sexual conduct and thereby

disrupting her ability to do her job.

      56.    Because Plaintiff refused his sexual advances, Defendant

Commissaris altered Plaintiff’s work environment to such as extent as to

constructively discharge Plaintiff from her employment.

      57.    Defendant Commissaris carried out the said acts in his capacity

as Plaintiff’s supervisor with regard to her employment with Defendant.

      58.    Therefore, Plaintiff hereby asserts MCLA §37.2202 Quid Pro

Quo Sex Harassment in the Workplace Claim against Defendant

Commissaris.


                                        10
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16     PageID.11   Page 11 of 18



               COUNT V. PLAINTIFF’S MCLA §37.2402 OFFENSIVE
             EDUCATIONAL ENVIRONMENT SEX HARASSMENT
                 CLAIM AGAINST DEFENDANT COMMISSARIS

      59.     Plaintiff hereby re-alleges and incorporates by reference the

preceding paragraphs.

      60.     Defendant Commissaris’ conduct and communications as

stated above had the purpose and effect of substantially interfering with

Plaintiff’s education and created an intimidating, hostile and offensive sex-

based educational environment for Plaintiff.

      61.     Defendant Commissaris knew, or should have known, that he

created the aforesaid offensive educational environment, but did nothing to

stop it.

      62.     Therefore, Plaintiff asserts an MCLA §37.2402 Offensive

Educational Environment Sex Harassment Claim against Defendant

Commissaris.

               COUNT VI. PLAINTIFF’S MCLA § 37.2402 QUID PRO
           QUO SEXUAL HARASSMENT IN THE EDUCATIONAL SETTING
               CLAIM AGAINST DEFENDANT COMMISSARIS

      63.     Plaintiff hereby re-alleges and incorporates by reference the

preceding paragraphs.

      64.     Because Plaintiff refused to enter into a sexual relationship with

Defendant      Commissaris,     Defendant    Commissaris      made    Plaintiff’s


                                       11
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16   PageID.12   Page 12 of 18



educational life intolerable by beclouding her educational environment with

sexual conduct and disrupting her ability to continue to attend Wayne State

University as a student.

      65.   The aforestated circumstances so altered Plaintiff’s educational

environment that she was forced to abandon her education at Wayne State

University and pursue a pharmacy degree elsewhere.

      66. Defendant Commissaris carried out said acts in his capacity as

an Associate Professor at Wayne State University.

      67.   Therefore, Plaintiff hereby asserts an MCLA §37.2402 Quid Pro

Quo Sexual Harassment in the Educational Environment Claim against

Defendant Commissaris.

          COUNT VII. INTENTIONAL INFLICTION OF EMOTIONAL
       DISTRESS CLAIM AGAINST DEFENDANT COMMISSARIS

      68.   Plaintiff hereby re-alleges and incorporates by reference the

preceding paragraphs.

      69.   The conduct described above committed by Defendant

Commissaris is outrageous.

      70.   Defendant engaged in said conduct intentionally and with

recklessness.

      71.   Said conduct proximately caused Plaintiff to suffer extreme

emotional distress.
                                     12
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16     PageID.13   Page 13 of 18



      72.   Therefore, Plaintiff hereby asserts an Intentional Infliction of

Emotional Distress claim against Defendant Commissaris.

      COUNT VIII. PLAINTIFF’S OFFENSIVE ENVIRONMENT IN THE
    EDUCATIONAL SETTING SEX HARASSMENT CLAIM AGAINST
        DEFENDANT UNIVERSITY, PURSUANT TO TITLE IX
                  OF THE CIVIL RIGHTS ACT OF 1964

      73.   Plaintiff hereby re-alleges and incorporates by reference the

preceding paragraphs.

      74.   Defendant Commissaris’ conduct and communications as

stated above had the purpose and effect of substantially interfering with

Plaintiff’s education, and created an intimidating, hostile and offensive sex-

based educational environment for Plaintiff.

      75.   Defendant University knew, or should have known, the said sex

harassment was occurring, and took inadequate measures to stop it.

      76.   Therefore, Plaintiff hereby asserts an offensive environment in

the educational setting sex harassment claim against Defendant University

pursuant to Title IX of the Civil Rights Act of 1964.

          COUNT IX. PLAINTIFF’S QUID PRO QUO SEXUAL
     HARASSMENT CLAIM AGAINST DEFENDANT UNIVERSITY,
     PURSUANT TO TITLE IX OF THE CIVIL RIGHTS ACT OF 1964

      77.   Plaintiff hereby re-alleges and incorporates by reference the

preceding paragraphs.



                                       13
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16    PageID.14     Page 14 of 18



      78.     Because Plaintiff refused to engage in a romantic relationship

with Defendant Commissaris, Defendant Commissaris made Plaintiff’s

educational environment sexually offensive.

      79.     Defendant Commissaris thus altered Plaintiff’s educational

environment to such an extent that Plaintiff was forced to leave the

university and pursue her dream of becoming a pharmacist at another

university.

      80.     Under the circumstances, Defendant University is vicariously

liable for the Quid Pro Quo sexually harassing behavior of Defendant

Commissaris, as Defendant Commissaris carried out said act in his

capacity as an associate professor employed by Defendant University.

      81.     Therefore, Plaintiff asserts a Quid Pro Quo Sexual Harassment

Claim against the Defendant University pursuant to Title IX of the Civil

Rights Act of 1964.

         COUNT X. PLAINTIFF’S MCLA §37.2202 OFFENSIVE
    EMPLOYMENT ENVIRONMENT SEXUAL HARASSMENT CLAIM
             AGAINST DEFENDANT UNIVERSITY

      82.     Plaintiff hereby re-alleges and incorporates by reference the

preceding paragraphs.

      83.     Defendant Commissaris’ conduct and communication as stated

substantially interfered    with   Plaintiff’s   employment   with    Defendant


                                       14
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16   PageID.15   Page 15 of 18



University by creating an intimidating, hostile and offensive sex-based

employment environment for Plaintiff.

      84.   Defendant University knew, or should have known, that the said

sex harassment was occurring and took inadequate measures to stop it.

      85.   Therefore, Plaintiff asserts a MCLA §37.2202 Offensive

Environment in the Employment Setting Sex Harassment claim against

Defendant University.

       COUNT XI. PLAINTIFF’S MCLA §37.2202 QUID PRO QUO SEX
           HARASSMENT IN THE WORKPLACE CLAIM
                  AGAINST DEFENDANT UNIVERSITY

      86.   Plaintiff hereby re-alleges and incorporates by reference the

preceding paragraphs.

      87.   Because Plaintiff refused the sexual advances with Defendant

Commissaris, Defendant Commissaris beclouded her work environment

with sexual conduct and thereby disrupted her ability to do her job.

      88.   Because Plaintiff refused his sexual advances, Defendant

Commissaris altered Plaintiff’s work environment to such as extent as to

constructively discharge Plaintiff from her employment.

      89.   Defendant Commissaris carried out the said acts in his capacity

as Plaintiff’s supervisor in her employment with Defendant University.




                                     15
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16   PageID.16   Page 16 of 18



      90.     Therefore, Plaintiff hereby asserts MCLA §37.2202 Quid Pro

Quo Sex Harassment in the Workplace Claim against Defendant.

          COUNT XII. PLAINTIFF’S MCLA §37.2402 OFFENSIVE
      EDUCATIONAL ENVIRONMENT SEX HARASSMENT CLAIM
                AGAINST DEFENDANT UNIVERSITY

      91.     Plaintiff hereby re-alleges and incorporates by reference the

preceding paragraphs.

      92.     Defendant Commissaris’ conduct and communications as

stated above had the purpose and effect of substantially interfering with

Plaintiff’s education and created an intimidating, hostile and offensive sex-

based educational environment for Plaintiff.

      93.     Defendant University knew, or should have known, that the said

sex harassment was occurring and took inadequate measures to stop it.

      94.     Therefore, Plaintiff asserts an MCLA §37.2402 Offensive

Educational Environment Sex Harassment Claim against Defendant

University.

       COUNT XIII. PLAINTIFF’S MCLA S 37.2402 QUID PRO QUO
   SEXUAL HARASSMENT IN THE EDUCATIONAL SETTING CLAIM
             AGAINST DEFENDANT UNIVERSITY

      95.     Plaintiff hereby re-alleges and incorporates by reference the

preceding paragraphs.




                                      16
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16      PageID.17    Page 17 of 18



      96.   Because Plaintiff refused the sexual advances of Defendant

Commissaris,      Defendant     Commissaris      beclouded      her   educational

environment with sexual conduct and disrupted her ability to continue to

attend Wayne State University.

      97.   Said circumstances altered Plaintiff’s educational environment

to such an extent that she was forced to abandon her education at Wayne

State University and pursue a pharmacy degree elsewhere.

      98. Defendant Commissaris carried out said acts in his capacity as

an Associate Professor at Wayne State University, and Defendant

University is therefore vicariously liable for his illegal actions.

      99.   Therefore, Plaintiff hereby asserts an MCLA §37.2402 Quid Pro

Quo Sex Harassment in the Educational Setting Claim against Defendant.

      WHEREFORE, Plaintiff prays for a judgment against Defendant in

damages, including punitive damages and all other damages awardable

under the law, in an amount the jury deems just, together with costs,

interest and allowable attorney fees.




                                        17
Case 2:16-cv-11209-SJM-SDD ECF No. 1 filed 04/04/16                   PageID.18   Page 18 of 18



                                   DEMAND FOR JURY TRIAL

         Plaintiff hereby demands a jury trial in the above-captioned case as

guaranteed by Rule 38 of the Federal Rules of Civil Procedure.

                                            Respectfully submitted,



Dated:                                      /s/Glen N. Lenhoff
                                            GLEN N. LENHOFF (P32610)
                                            Law Office of Glen N. Lenhoff
                                            Attorney for Plaintiff


Dated:                                      /s/Robert D. Kent-Bryant
                                            ROBERT D. KENT-BRYANT (P40806)
                                            Law Office of Glen N. Lenhoff
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